Case: 2:19-cv-00849-ALM-EPD Doc #: 80 Filed: 06/28/19 Page: 1 of 15 PAGEID #: 1247




                      IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

M.A., an individual                        )
                                           )
                      Plaintiff,           )      Case No: 2:19-cv-00849
                                           )
                      v.                   )      JUDGE ALGENON MARBLEY
                                           )
Wyndam Hotels and Resorts, Inc., et al.    )      MAGISTRATE ELIZABETH
                                           )      PRESTON DEAVERS
                      Defendants.          )

DEFENDANT TJM COLUMBUS, LLC D/B/A CROWNE PLAZA COLUMBUS NORTH-
     WORTHINGTON’S MOTION FOR JUDGMENT ON THE PLEADINGS

       Pursuant to Fed.R.Civ.P. 12(c), Defendant TJM Columbus, LLC d/b/a Crowne Plaza

Columbus North-Worthington (“TJM”) moves the Court for judgment on the pleadings in its

favor on all claims asserted against TJM in Plaintiff’s Complaint. At the time of the events

alleged in the Complaint, from the spring of 2014 to August 2015 (see Complaint ¶¶49, 51, and

57), TJM did not own or operate the Crown Plaza Columbus North - Worthington hotel (the

“Hotel”) at which the Complaint alleges certain sex trafficking activities occurred which form

the bases for the claims that Plaintiff asserts against TJM. Indeed, the Complaint does not

expressly assert that TJM owned or operated the Worthington Crown Plaza Hotel during the

relevant time frame -- and for good reason. TJM was not incorporated until April 22, 2016 (see

Exhibit A); it acquired the Hotel on November 23, 2016. Thus, the Complaint fails to state a

claim against TJM upon which relief can be granted.

       A memorandum in support is set forth below.
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                                          Respectfully Submitted,

                                          /s/ John F. Stock
                                          John F. Stock (#0004921)
                                          Thomas B. Kern (#0084024)
                                          41 South High Street, Suite 2600
                                          Columbus, Ohio 43215-3506
                                          Telephone: (614) 223-9300
                                          Facsimile: (614) 223-9330
                                          Email: jstock@beneschlaw.com
                                                 tkern@beneschlaw.com

                                          Attorneys for Defendant,
                                          TJM Columbus, LLC d/b/a Crowne Plaza Columbus
                                          North-Worthington, an IHG Hotel


                               MEMORANDUM IN SUPPORT

I.     INTRODUCTION

       In her Complaint, Plaintiff alleges that she was a victim of certain sex trafficking events

at the Hotel from the spring of 2014 to August 2015. See Complaint ¶¶ 49, 51, and 57. The

Complaint further alleges that the owner, supervisor, or operator of the Hotel supported,

facilitated, harbored, or otherwise furthered the victimization of Plaintiff during this time period

by repeatedly failing to address known risks of human trafficking on the Hotel premises. Id. ¶¶

73-86, 107. But the Complaint is fatally defective as against TJM because it fails to allege that

TJM owned or operated the Hotel at the time the events detailed in the Complaint are alleged to

have occurred at the Hotel. In fact, TJM did not own or operate the Hotel at that time. As noted,

TJM did not even exist until 2016. Plaintiff’s Complaint must be dismissed as to TJM.

II.    LAW AND ARGUMENT

       A.      The Legal Standard for Granting Judgment on the Pleadings

       “After the pleadings are closed—but early enough not to delay trial—a party may move

for judgment on the pleadings.” Fed.R.Civ.P. 12(c). See also Hoven v. Walgreen Co., 751 F.3d



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778, 782-83 (6th Cir. 2014). “[The court] must ‘construe the complaint in the light most

favorable to the plaintiff, accept all of the complaint's factual allegations as true, and determine

whether the plaintiff undoubtedly can prove no set of facts in support of the claims that would

entitle relief.’” Equal Employment Opportunity Comm’n v J.H. Routh Packing Co., 246 F.3d

850, 851 (6th Cir. 2001) (citations omitted). However, the Court need not accept as true

unwarranted factual inferences or legal conclusions. Grindstaff v. Green, 133 F.3d 416, 421 (6th

Cir. 1998) (emphasis added).

        In order to survive a motion for judgment on the pleadings, “a complaint must contain

sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

Filer v. Polston, 886 F.Supp.2d 790, 794 (S.D.Ohio 2012) (emphasis added).                  A claim is

plausible on its face when the facts pleaded allow the court “to draw the reasonable inference

that the defendant is liable for the misconduct alleged.” Id. Plausibility requires more than a

sheer possibility that a defendant has acted unlawfully. Id. When the alleged facts do not permit

the court to infer more than a mere possibility of misconduct, then the complaint has not shown

that the pleader is entitled to relief. Id. In these circumstances, a motion for judgment on the

pleadings should be granted. See id. at 797.

        B.      The Court May Take Judicial Notice of the Publicly-Filed Corporate
                Records Establishing That TJM Was Organized On April 22, 2016 -- After
                the Events Alleged in the Complaint

        The Court may take notice of the Florida Secretary of State’s record establishing that the

articles of organization creating TJM were filed on April 22, 2016. See Exhibit A attached

hereto. 1 Courts are permitted to take judicial notice of facts that are “not subject to reasonable




1 TJM was first incorporated under the name “TJM Roanoke, LLC.” On September 6, 2016,
TJM Roanoke, LLC changed its name to “TJM Columbus, LLC.” See Exhibit B (Florida Sec’y


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dispute.” Fed.R.Evid. 201(b). When deciding a motion for judgment on the pleadings, federal

courts may consider materials that are public records or materials that are otherwise appropriate

for taking judicial notice. Filer v. Polston, 886 F.Supp.2d 790, 794 (S.D.Ohio 2012); Barany–

Snyder v. Weiner, 539 F.3d 327, 332 (6th Cir.2008) (public records may be taken into account

when considering Rule 12(c) motion for judgment on the pleadings). When judicial notice is

taken, the court does not need to convert the Rule 12(c) motion into a Rule 56 motion. Whittiker

v. Deutsche Bank Nat. Tr. Co., 605 F.Supp.2d 914, 925 (N.D.Ohio 2009).

       And specifically, it is appropriate for courts to take judicial notice of articles of

incorporation published on a secretary of state’s website.        See Overall v. Ascension, 23

F.Supp.3d 816, 824–25 (E.D.Mich.2014) (“[T]he Court may take judicial notice of the Articles

of Incorporation . . . which are public documents filed with the Missouri and/or Michigan

Secretary of State and are available on the states' websites.”); Chappell & Co. v. 111 N. Main St.,

Inc., N.D.Ohio No. 5:08 CV 3000, 2009 WL 1459035, *1 (“Court takes judicial notice of the

corporation's Articles of Incorporation and Subsequent Appointment of Agent, which are public

documents found on the Ohio Secretary of State website.”).

       Exhibit A, TJM’s articles of incorporation on the Florida Secretary of State’s website,

establishes that TJM was incorporated on April 22, 2016. TJM did not exist at the time of the

events alleged in the Complaint -- spring of 2014 to August 15, 2015. See Complaint ¶¶ 49, 51,

57, 73-86, and 107. TJM did not -- and could not -- own, operate, or supervise the Hotel at the

time of the events that form the bases for Plaintiff’s claims against TJM. Furthermore, the

Complaint does not expressly allege that TJM owned, operated, or supervised the Hotel during




of State Articles of Amendment) and Exhibit C (Florida Sec’y of State “Detail by Entity Name”
showing the history of corporate filings for TJM).


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the relevant time frame. The Complaint fails to state a claim against TJM that is plausible on its

face, as a matter of law. TJM is entitled to judgment on the pleadings.

III. CONCLUSION

       For the foregoing reasons, the Court should grant judgment on the pleadings in TJM’s

favor on all claims asserted against TJM in Plaintiff’s Complaint.

                                         Respectfully submitted,

                                         BENESCH, FRIEDLANDER,
                                         COPLAN & ARONOFF LLP

                                         /s/ John F. Stock
                                         John F. Stock (#0004921)
                                         Thomas B. Kern (#0084024)
                                         41 South High Street, Suite 2600
                                         Columbus, Ohio 43215-3506
                                         Telephone: (614) 223-9300
                                         Facsimile: (614) 223-9330
                                         Email: jstock@beneschlaw.com
                                                tkern@beneschlaw.com

                                         Attorneys for Defendant
                                         TJM Columbus, LLC d/b/a Crowne Plaza Columbus
                                         North-Worthington, an IHG Hotel




                                               -5-
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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 28, 2019, a copy of the foregoing Answer was filed

electronically. Notice of this filing will be sent by operation of the Court’s case management

and electronic filing system. Parties may access this filing through the Court’s case management

and electronic filing system.

                                        /s/ John F. Stock




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                 Electronic Articles of Organization                                L16000079280
                                                                                    FILED 8:00 AM
                              For                                                   April 22, 2016
                 Florida Limited Liability Company                                  Sec. Of State
                                                                                    cgolden
                                  Article I
The name of the Limited Liability Company is:
     TJM ROANOKE, LLC



                                  Article II
The street address of the principal office of the Limited Liability Company is:
     5801 ULMERTON ROAD
     SUITE 200
     CLEARWATER, FL. 33760

The mailing address of the Limited Liability Company is:
     5801 ULMERTON ROAD
     SUITE 200
     CLEARWATER, FL. 33760

                                  Article III
The name and Florida street address of the registered agent is:
     TERENCE J MCCARTHY
     5801 ULMERTON ROAD
     SUITE 200
     CLEARWATER, FL. 33760

Having been named as registered agent and to accept service of process for the above stated limited
liability company at the place designated in this certificate, I hereby accept the appointment as registered
agent and agree to act in this capacity. I further agree to comply with the provisions of all statutes
relating to the proper and complete performance of my duties, and I am familiar with and accept the
obligations of my position as registered agent.
Registered Agent Signature: TERENCE J. MCCARTHY




                                                                                       EXHIBIT A
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                                 Article IV                                       L16000079280
                                                                                  FILED 8:00 AM
The name and address of person(s) authorized to manage LLC:                       April 22, 2016
    Title: MGR                                                                    Sec. Of State
    TERENCE J MCCARTHY                                                            cgolden
    5801 ULMERTON ROAD, SUITE 200
    CLEARWATER, FL. 33760
Signature of member or an authorized representative
Electronic Signature: TERENCE J. MCCARTHY
I am the member or authorized representative submitting these Articles of Organization and affirm that the
facts stated herein are true. I am aware that false information submitted in a document to the Department
of State constitutes a third degree felony as provided for in s.817.155, F.S. I understand the reqmrement to
file an annual report between January 1st and May 1st in the calendar year following formation of the LLC
and every year thereafter to maintain "active" status.
           Case: 2:19-cv-00849-ALM-EPD Doc #: 80 Filed: 06/28/19 Page: 9 of 15 PAGEID #: 1255




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                      (Requestor's Name)



                      (Address)



                      (Address)
                                                                  400289174054
                      (City/State/Zip/Phone #)



       □    PICK-UP         □     WAIT           □   MAIL



                      (Business Entity Name)

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                      (Document Number)



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        Case: 2:19-cv-00849-ALM-EPD Doc #: 80 Filed: 06/28/19 Page: 10 of 15 PAGEID #: 1256




                                                            COVER LETTER
TO: ·    Regi~tration Section
         Division of Corporations

         TJM Roanoke, LLC
SUBJECT: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                              Name of Limited Liability Company




The enclosed Articles of Amendment and fee(s) are submitted for filing.

Please return all correspondence concerning this matter to the following:


                              Harvey A. Ford

                                                                   Name of Person

                              Ford & Ford, P.A.

                                                                    Finn/Company

                              147 Second Avenue South, Suite 302

                                                                       Address

                              St. Petersburg, FL 33701

                                                               City/State and Zip Code
                             dschooley@tjmproperties.us
                                           E-mail address: (to be used for future annual report notification)

For further information concerning this matter, please call:

Harvey A. Ford                                727   894-2907
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ at~___) _ _ _ _ _ _ _ _ _ _ _ _ __
                  Name of Person                                        Area Code             Daytime Telephone Number




Enclosed is a check for the following amount:

Iii $25.00 Filing Fee       □ $30.00 Filing Fee &               0 $55.00 Filing Fee &                      □ $60.00 Filing Fee,
                                   Certificate of Status            Certified Copy                              Certificate of Status &
                                                                    (additional copy is enclosed)               Certified Copy
                                                                                                                (additional copy is enclosed)




                  MAILING ADDRESS:                                             STREET/COURIER ADDRESS:
                  Registration Section                                         Registration Section
                  Division of Corporations                                     Division of Corporations
                  P.O. Box 6327                                                Clifton Building
                  Tallahassee, FL 32314                                        2661 Executive Center Circle
                                                                               Tallahassee, FL 32301
       Case: 2:19-cv-00849-ALM-EPD Doc #: 80 Filed: 06/28/19 Page: 11 of 15 PAGEID #: 1257



                                               ARTICLES OF AMENDMENT
                                                         TO
                                              ARTICLES OF ORGANIZATION
                                                         OF

                TJM Roanoke, LLC
                                                                                                         r records.



The Articles of Organization for this Limited Liability Company were filed on _A_p_ri_l_22_,_2_0_16______ and assigned
Florida document number L16000079280
                              -----------
This amendment is submitted to amend the following:

A. If amending name, enter the new name of the limited liability company here:
T JM Columbus, LLC
The new name must be distinguishable and contain the words "Limited Liability Company:· the designation "LLC" or the abbreviation ·'L.L.C.''

                                                                              NIA
Enter new principal offices address, if applicable:
{Principal oQice addre.<,s MUST BE A STREET ADDRESS)




                                                                              NIA
Enter new mailing address, if applicable:
{Mailing address MAY BE A POST OFFICE BOX)




B. If amending the registered agent and/or registered office address on our records, enter        riam&bf the new         th"f
registered agent and/or the new registered office address here:                            .. ,. ·    ,,,.,
                                                                                                                             ::~ ,- -   rr;
                                                                                                                           :._,--:·     "v
                                                                                                                           ;_,,,-_.      I
           Name of New Registered Agent:                  NIA                                                             !"'1····      O'\   ..--


           New Registered Office Address:
                                                                                                                        •..:_J • - ·
                                                                                       Enter Florida street address    ~"'-~~·   ~

                                                          _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ,Florida _ _ _ _ _ _ __
                                                                                                                       i;:.-·•;· "'
                                                                                Ci1y                                             Zip Code
New Registered Agent's Signature, if changing Registered Agent:

I hereby accept the appointment as registered agent and agree to act in this capacity. I farther agree to comply with the
provisions ofall statutes relative to the proper and complete performance ofmy duties, and I am familiar with and
accept the obligations ofmy position as registered agent as providedfor in Chapter 605. F.S. Or. if this document is
beingfiled to merely reflect a change in the registered office address, I hereby confirm that the limited liability
company has been notified in writing of this change.



                                                                   If Changing Registered Agent, Signature of New Registered Agenf


                                                                   Page 1 of 3
      Case: 2:19-cv-00849-ALM-EPD Doc #: 80 Filed: 06/28/19 Page: 12 of 15 PAGEID #: 1258



If amending Authorized Person(s) authorized to manage, enter the title, name, and address of each person being added
or removed from our records:

MG.R = Manager
AMBR = Authorized Member

                                                    Address                                                       Type of Action


                                                    ________________                                                □     Add


                                                    __________________                                              □     Remove


                                                    __________________                                              □ Change




                                                    _________________                                               □     Add



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                                            Page 2 of3
  Case: 2:19-cv-00849-ALM-EPD Doc #: 80 Filed: 06/28/19 Page: 13 of 15 PAGEID #: 1259




D. If amending any other Information, enter change(s) here: (Attach additional sheets, ifnecessary.)
        , NIA




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E. Effective date, If other than the date of           mine:----------~ (optional)
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   ~    If the date inserted in this block does not meet the applicable statutory filing requirements, this date will not be listed as the
   document's effective date on the Department of State's records.


If the record specifies a delayed effective date, but not an effective time, at 12:01 a.m. on the earlier of:
(b) The 90th day after the record Is filed.




                                                                                    rcpn,,cntat1vc o a member

                Terence J. McCarthy, Manager
                                                             Typed or pnntcd name of siance



                                                                      Page3of3
                                                                 Filing Fee: $25,00
Detail by Entity Name                                                       Page 1 of 1
 Case: 2:19-cv-00849-ALM-EPD Doc #: 80 Filed: 06/28/19 Page: 14 of 15 PAGEID #: 1260


Florida Department of State                                                                                                                                         D IVISION   OF   C ORPORATIONS




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                              Department of State / Division of Corporations / Search Records / Detail By Document Number /




                                Detail by Entity Name
                                Florida Limited Liability Company
                                TJM COLUMBUS, LLC
                                Filing Information

                                Document Number                        L16000079280
                                FEI/EIN Number                         XX-XXXXXXX
                                Date Filed                             04/22/2016
                                State                                  FL
                                Status                                 ACTIVE
                                Last Event                             LC NAME CHANGE
                                Event Date Filed                       09/06/2016
                                Event Effective Date                   NONE
                                Principal Address

                                5801 ULMERTON ROAD
                                SUITE 200
                                CLEARWATER, FL 33760
                                Mailing Address

                                5801 ULMERTON ROAD
                                SUITE 200
                                CLEARWATER, FL 33760
                                Registered Agent Name & Address

                                MCCARTHY, TERENCE J
                                5801 ULMERTON ROAD
                                SUITE 200
                                CLEARWATER, FL 33760
                                Authorized Person(s) Detail

                                Name & Address


                                Title MGR


                                MCCARTHY, TERENCE J
                                5801 ULMERTON ROAD, SUITE 200
                                CLEARWATER, FL 33760


                                Annual Reports

                                 Report Year                Filed Date
                                 2017                       04/26/2017
                                 2018                       04/17/2018
                                 2019                       02/04/2019


                                Document Images

                                 02/04/2019 -- ANNUAL REPORT                   View image in PDF format

                                 04/17/2018 -- ANNUAL REPORT                   View image in PDF format

                                 04/26/2017 -- ANNUAL REPORT                   View image in PDF format

                                 09/06/2016 -- LC Name Change                  View image in PDF format

                                 04/22/2016 -- Florida Limited Liability       View image in PDF format




                                                                                           Florida Department of State, Division of Corporations




                                                                                                                                                              EXHIBIT C



http://search.sunbiz.org/Inquiry/CorporationSearch/SearchResultDetail?inquirytype=Entity... 6/19/2019
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                       IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

 M.A., an individual                       )
                                           )
                       Plaintiff,          )      Case No: 2:19-cv-00849
                                           )
                       v.                  )      JUDGE ALGENON MARBLEY
                                           )
 Wyndam Hotels and Resorts, Inc., et al.   )      MAGISTRATE ELIZABETH
                                           )      PRESTON DEAVERS
                       Defendants.         )

         This matter is before the Court on Defendant TJM Columbus, LLC d/b/a Crowne Plaza

 Columbus North-Worthington (“TJM”)’s Motion Under Fed.R.Civ.P. 12(c) For Judgment on the

 Pleadings and its accompanying Memorandum. Having reviewed the Motion and Memorandum,

 it is hereby ORDERED that TJM’s Motion is granted.



  DATE: ________________
                                               UNITED STATES DISTRICT JUDGE




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